OPINION — AG — **** PRIVATE COLLEGE — TAXATION — EXEMPTION **** PROPERTY CANNOT BE REMOVED FROM THE AD VALOREM TAX ROLLS OF A COUNTY MERELY BECAUSE SUCH PROPERTY IS DEEDED TO A PRIVATE COLLEGE. TO BE EXEMPT FROM TAXES, SUCH PROPERTY MUST BE USED BY SUCH COLLEGE FOR THE PURPOSES OF THE COLLEGE AND NOT MERELY THE INCOME THEREFROM USED FOR APPROPRIATE PURPOSES OF SUCH INSTITUTION. CITE: ARTICLE 10, SECTION 6 W. J. MONROE  ** ARTICLE X, SECTION 6 **